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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

                v.                                    Case No. 1:21-cr-175-TJK

JOSEPH BIGGS, et al.,
                Defendants.

            BIGGS’ MOTION TO JOIN TARRIO’S BRADY MOTION AT ECF 431

        Defendant Biggs moves for leave to join defendant Henry Tarrio’s motion (at ECF 431)

for the government to produce Brady materials reflecting planning by or coordination between

the defendants and Washington, D.C. Metropolitan police, Secret Service or other law enforcement

in advance of national Proud Boys rallies and protests over a period of several years. Biggs will

not file a brief, supplement, or present argument at the hearing of Tarrio’s motion on September 7

at 11:00.

      Therefore, and for good cause shown, Biggs asks to join in Tarrio’s Brady motion filed

at ECF 431.

                                            Respectfully submitted,

                                            COUNSEL FOR JOSEPH RANDALL BIGGS




Dated: September 4, 2022                     By: /s/ J. Daniel Hull
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                                CERTIFICATE OF SERVICE

      The undersigned certifies that on September 4, 2022, he served a true and correct copy of

the foregoing defendant Joseph Biggs’ Motion to Join Tarrio’s Brady Motion at ECF 431 upon

all counsel of record via the Electronic Case Filing (ECF) system.


                                             By: /s/ J. Daniel Hull
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